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           EXHIBIT 6
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   TELECOMMUNICATIONS AMERICA, LLC


                             UNITED STATES DISTRICT COURT

                NORTHERN DISTRICT OF CALIFORNIA, SAN JOSE DIVISION



 APPLE INC., a California corporation,         CASE NO. 12-cv-00630-LHK

                Plaintiff,                     SAMSUNG’S OBJECTIONS AND
                                                 RESPONSES TO APPLE’S FIRST SET OF
         vs.                                   PRELIMINARY INJUNCTION
                                                 INTERROGATORIES
 SAMSUNG ELECTRONICS CO., LTD., a
   Korean business entity; SAMSUNG
 ELECTRONICS AMERICA, INC., a New
   York corporation; SAMSUNG
 TELECOMMUNICATIONS AMERICA,
   LLC, a Delaware limited liability company,

                 Defendant.




                                                                     Case No. 12-cv-00630-LHK
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 1          Pursuant to Rule 33 of the Federal Rules of Civil Procedure, Defendants Samsung

 2 Electronics Co., Ltd., Samsung Electronics America, Inc., and Samsung Telecommunications

 3 America, LLC, (“Samsung”) submit the following objections and responses to Plaintiff Apple

 4 Inc’s (“Apple’s”) First Set of Preliminary Injunction Interrogatories to Defendants.

 5          Samsung expressly incorporates the following General Objections as though set forth fully

 6 in response to each of the following individual interrogatories and, to the extent that they are not

 7 raised in any particular response, Samsung does not waive those objections.

 8                                      GENERAL OBJECTIONS
 9          The following general objections apply to each and every interrogatory propounded by

10 Plaintiff, and are incorporated into each of the following responses by reference as if set forth fully

11 therein:

12          1.      Samsung objects to the “Definitions” and “Instructions” contained in Apple’s First

13 Set of Interrogatories to the extent they are inconsistent with the Federal Rules of Civil Procedure.

14          2.      Samsung objects to Apple’s Definition of “Samsung,” “You,” “Your,” and

15 “Defendants” as overly broad to the extent it requires Samsung to pursue information from

16 individuals no longer employed by Samsung whose data is not currently in the possession of

17 Samsung. Samsung further objects to Apple’s Definition of “Samsung,” “You,” “Your,” and

18 “Defendants” as overly broad, vague, and ambiguous to the extent it does not define “affiliates,”
19 and also to the extent that it requires Samsung to potentially seek information from thousands of

20 people. Samsung will respond to interrogatories based on a reasonable inquiry of individuals

21 expected to possess the requested information.

22          3.      Samsung objects to these interrogatories on the ground and to the extent they seek

23 information not relevant to a determination of Apple’s Motion for a Preliminary Injunction, filed

24 February 8, 2012. Such discovery is not authorized at this time under the Federal Rules of Civil

25 Procedure or under the Court’s February 22, 2012 Order Setting Briefing and Hearing Schedule

26 for Preliminary Injunction Motion. Samsung will provide information that is reasonably likely to

27 lead to the discovery of admissible evidence relevant to Apple’s Motion for a Preliminary

28 Injunction.

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 1          4.      Samsung objects generally to each interrogatory to the extent that it seeks to elicit

 2 information subject to and protected by the attorney-client privilege, the attorney work-product

 3 doctrine, the joint defense privilege, the common interest doctrine, and/or any other applicable

 4 privilege or immunity. Any inadvertent disclosure of such information shall not be deemed a

 5 waiver of the attorney-client privilege, the work product doctrine, or any other applicable

 6 privilege or immunity recognized by statute or case law. Samsung will exchange with Apple a

 7 log of withheld documents at a time agreed to by counsel for the parties. Samsung objects

 8 generally to the logging of privileged documents that were created on or after the date of filing of

 9 the original Complaint (on February 8, 2012). Samsung will not log privileged documents that

10 were created on or after February 8, 2012.

11          5.      Samsung objects to these interrogatories on the ground and to the extent they are

12 vague and ambiguous. Samsung in its responses will identify any terms it believes are vague and

13 ambiguous and will assume a reasonable meaning for each such term.

14          6.      Samsung objects generally to the interrogatories to the extent they seek

15 information from outside a reasonable time period or from a point other than a reasonable time, or

16 seek information about products outside the United States, on the ground that such information is

17 irrelevant.

18          7.      Samsung objects to these interrogatories to the extent they seek to compel
19 Samsung to generate or create information and/or documents that do not already exist.

20          8.      Samsung objects generally to the interrogatories on the ground and to the extent

21 that they prematurely call for contentions, identification of prior art, or identification of witnesses

22 at this stage of the litigation. Samsung will provide its contentions regarding non-infringement,

23 invalidity, and other issues according to the procedural schedule established by the Court,

24 including the Court’s February 22, 2012 Order Setting Briefing and Hearing Schedule for

25 Preliminary Injunction Motion.

26          9.      Samsung objects to each interrogatory to the extent it is duplicative or cumulative

27 of another interrogatory or other discovery.

28          10.     Samsung objects to each interrogatory to the extent it is compound and comprises

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 1 discrete subparts resulting in separate interrogatories.

 2          11.    Samsung expressly reserves the right to respond to any or all of the interrogatories

 3 by specifying documents wherein the responsive information may be ascertained pursuant to Rule

 4 33(d) of the Federal Rules of Civil Procedure.

 5          12.    Samsung objects generally to the interrogatories to the extent they seek

 6 confidential proprietary or trade secret information of third parties. Samsung will endeavor to

 7 work with third parties to obtain their consent, if necessary, before identifying or producing such

 8 information and/or documents.

 9          13.    Samsung objects generally to the interrogatories on the grounds that they are

10 overly broad, unduly burdensome, and neither relevant nor reasonably calculated to lead to the

11 discovery of admissible evidence.

12          14.    Samsung objects to the interrogatories on the ground that they are overly broad,

13 unduly burdensome and oppressive to the extent they purport to require Samsung to search its

14 facilities and inquire of their employees other than those in its facilities and employees that would

15 reasonably be expected to have responsive information. Samsung’s responses are based upon (1)

16 a reasonable search and investigation of facilities and files that could reasonably be expected to

17 contain responsive information, and (2) inquiries of Samsung’s employees and/or representatives

18 who could reasonably be expected to possess responsive information.
19          15.    Samsung objects to the interrogatories on the grounds that they seek information

20 already in the possession of Apple, publicly available, or as readily available to Apple as it is to

21 Samsung.

22          16.    Samsung objects to the interrogatories on the grounds and to the extent that they

23 seek legal conclusions or call for expert testimony. Samsung’s responses should not be construed

24 to provide legal conclusions.

25          17.    Samsung objects to the interrogatories on the ground that discovery is continuing

26 in this action, and Samsung has not yet completed its factual investigation. The following

27 responses reflect the information reasonably available to Samsung at this time. Samsung reserves

28 its right to amend or supplement these responses and any production of documents as additional

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 1 discovery and investigation continue, in the event that additional information is disclosed, or in

 2 the event of error, inadvertent mistake, or omission.

 3          Subject to and without waiving the foregoing General Objections, Samsung responds and

 4 further objects as follows:

 5

 6                             SPECIFIC OBJECTIONS AND RESPONSES
 7

 8 INTERROGATORY NO. 1:

 9          Identify any and all code names, internal names, nick names, model numbers, or other

10 identifying information used by Samsung to identify or otherwise refer to the Samsung Galaxy

11 Nexus as well as any of the accused technologies implemented on the Samsung Galaxy Nexus,

12 including but not limited to, all versions of Android 4.0 Ice Cream Sandwich, Slide to Unlock,

13 Text Correction, Unified Search and Special Text Detection and identify the person(s) most

14 knowledgeable about the response to this interrogatory.

15

16 OBJECTIONS AND RESPONSE TO INTERROGATORY NO. 1:

17          In addition to its General Objections above, which it hereby incorporates by reference,

18 Samsung objects to this Interrogatory on the grounds that: (i) it is vague and ambiguous with
19 regard to the terms “code names,” “internal names,” “nick names,” and “other identifying

20 information; (ii) it is vague, ambiguous, and unintelligible to the extent it seeks information about

21 any “accused technologies” that are not specifically identified in the interrogatory; (iii) it is overly

22 broad and unduly burdensome to the extent it seeks information not relevant to Apple’s Motion for

23 a Preliminary Injunction; and (iv) it is compound and comprises discrete subparts resulting in

24 separate interrogatories.

25          Subject to and without waiving the foregoing general and specific objections, Samsung

26 responds as follows:

27

28

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 1          While in development, Samsung's Galaxy Nexus was sometimes referred to within

 2 Samsung as “Proxima” or “Nexus Prime.” Samsung model numbers for the Galaxy Nexus include

 3 I515 and GT-I9250.

 4          Android 4.0 Ice Cream Sandwich is sometimes referred to within Samsung as “ICS.”

 5          The technology identified in the interrogatory as “Slide to Unlock” is sometimes referred

 6 to within Samsung as “Slide to Unlock.”

 7          The technology identified in the interrogatory as “Text Correction” is sometimes referred

 8 to within Samsung as “predictive text.”

 9          The technology identified in the interrogatory as “Unified Search” is sometimes referred to

10 within Samsung as “Quick Search.”

11          The technology identified in the interrogatory as “Special Text Detection” is a feature of

12 what is sometimes referred to within Samsung as “Browser.”

13          Jisun Park, Principal Engineer, Systems Software, R&D, is knowledgeable regarding the

14 information contained in this response.

15

16 INTERROGATORY NO. 2:

17          Identify from the source code produced in response to Request Nos. 9-13 in Apple’s First

18 Set of Preliminary Injunction Requests for Production all files that relate to the accused features
19 and functionality of the Samsung Galaxy Nexus, including Slide to Unlock, Text Correction,

20 Unified Search and Special Text Detection. Such identification should include, the name of the

21 file, the engineers, designers and authors responsible for that file, the specific accused feature to

22 which the identified file relates, and any differences between that file and the publicly available

23 version of the Android 4.0 Ice Cream Sandwich source code and the engineers, designers and

24 authors of those differences, and identify the person(s) most knowledgeable about the response to

25 this interrogatory.

26

27

28

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 1 OBJECTIONS AND RESPONSE TO INTERROGATORY NO. 2:

 2          In addition to its General Objections above, which it hereby incorporates by reference,

 3 Samsung objects to this Interrogatory on the grounds that: (i) it seeks information that is outside

 4 of Samsung’s possession, custody, or control, or that is equally available to Apple; (ii) it seeks to

 5 elicit information subject to and protected by the attorney-client privilege, the attorney work-

 6 product doctrine, the joint defense privilege, the common interest doctrine, and/or any other

 7 applicable privilege or immunity; (iii) it is overly broad, unduly burdensome, and neither relevant

 8 nor reasonably calculated to lead to the discovery of admissible evidence to the extent that it seeks

 9 “all files” that relate to documents produced in response to Request Nos. 9–13; (iv) it is unduly

10 burdensome to the extent that it would require a comparative analysis of different versions of the

11 Android 4.0 Ice Cream Sandwich source code; (v) it is compound and comprises discrete subparts

12 resulting in separate interrogatories; and (vi) it is vague and ambiguous, particularly as to the

13 terms “files,” “relate to,” “responsible for that file,” “publicly available version of the Android 4.0

14 Ice Cream Sandwich source code,” and “engineers, designers and authors of those differences.”

15          Subject to and without waiving the foregoing general and specific objections, Samsung

16 responds as follows:

17          The source code for the version of Ice Cream Sandwich used on Galaxy Nexus was written

18 by Google, not Samsung. Samsung does not have possession of the source code; Google provides
19 Samsung with object code in binary form to be installed onto the Galaxy Nexus. The binary

20 object code is unreadable by a human being.

21

22 INTERROGATORY NO. 3:

23          For all source code files or modules identified or referenced in any expert declaration

24 attached to Apple’s Motion for Preliminary Injunction, including the expert declarations of Dr.

25 Todd Mowry, Dr. Nathaniel Polish, Dr. Ravin Balakrishan and Dr. Karan Singh, identify whether

26 the file or module as referenced or identified is present in the Samsung Galaxy Nexus, or if it is

27 not, identify any differences between that file and module and the version of the file or module

28

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 1 that is present in the Samsung Galaxy Nexus and, identify the person(s) most knowledgeable

 2 about the response to this interrogatory.

 3

 4 OBJECTIONS AND RESPONSE TO INTERROGATORY NO. 3:

 5           In addition to its General Objections above, which it hereby incorporates by reference,

 6 Samsung objects to this Interrogatory on the grounds that: (i) it seeks information that is outside

 7 of Samsung’s possession, custody, or control, or that is equally available to Apple; (ii) it seeks to

 8 elicit information subject to and protected by the attorney-client privilege, the attorney work-

 9 product doctrine, the joint defense privilege, the common interest doctrine, and/or any other

10 applicable privilege or immunity; (iii) it is overly broad, unduly burdensome, and neither relevant

11 nor reasonably calculated to lead to the discovery of admissible evidence to the extent that it seeks

12 “source code files or modules” referenced in “any expert declaration attached to Apple’s Motion

13 for Preliminary Injunction, including the expert declarations of Dr. Todd Mowry, Dr. Nathaniel

14 Polish, Dr. Ravin Balakrishan and Dr. Karan Singh”; (iv) it is unduly burdensome to the extent

15 that it would require a comparative analysis of different versions of the Android 4.0 Ice Cream

16 Sandwich source code; (v) it is compound and comprises discrete subparts resulting in separate

17 interrogatories; and (vi) it is vague and ambiguous, particularly as to the terms “module” and

18 “file.”
19           Subject to and without waiving the foregoing general and specific objections, Samsung

20 responds as follows:

21           The source code for the version of Ice Cream Sandwich used on Galaxy Nexus was written

22 by Google, not Samsung. Samsung does not have possession of the source code; Google provides

23 Samsung with object code in binary form to be installed onto the Galaxy Nexus. The binary

24 object code is unreadable by a human being.

25

26 INTERROGATORY NO. 4:

27           Describe the facts and circumstances surrounding Samsung’s knowledge of the

28 Preliminary Injunction Patents, including but not limited to, whether or not Samsung was aware of

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 1 each of the Preliminary Injunction Patents prior to the filing of this lawsuit; when Samsung

 2 became aware of each of the Preliminary Injunction Patents; how Samsung became aware of each

 3 of the Preliminary Injunction Patents; and any efforts made to avoid infringement of each of the

 4 Preliminary Injunction Patents; and, identify the person(s) most knowledgeable about the response

 5 to this interrogatory, and locate and identify all documents which refer or relate to the facts and

 6 assertions in the response or which were reviewed in preparing the response to this interrogatory.

 7

 8 OBJECTIONS AND RESPONSE TO INTERROGATORY NO. 4:

 9          In addition to its General Objections above, which it hereby incorporates by reference,

10 Samsung objects to this Interrogatory on the grounds that: (i) it seeks to elicit information subject

11 to and protected by the attorney-client privilege, the attorney work-product doctrine, the joint

12 defense privilege, the common interest doctrine, and/or any other applicable privilege or

13 immunity; (ii) it is overly broad and unduly burdensome to the extent that it seeks “facts and

14 circumstances surrounding” Samsung's knowledge of the preliminary injunction patents; (iii) it is

15 overly broad and unduly burdensome in that it seeks information not relevant to Apple’s Motion

16 for a Preliminary Injunction; (iv) it seeks information that is not relevant and not reasonably

17 calculated to lead to the discovery of admissible evidence; (v) it is vague and ambiguous; (vi) it

18 calls for legal conclusions; and (vii) it is compound and comprises discrete subparts resulting in
19 separate interrogatories.

20

21 INTERROGATORY NO. 5:

22          If you contend or believe that you do not infringe any asserted claim of the Preliminary

23 Injunction Patents, state with specificity the complete factual and legal bases for such contention

24 or belief, including a claim chart identifying which claim limitations are not found in the Samsung

25 Galaxy Nexus, the claim constructions or definitions used in supporting this contention or belief,

26 and if you believe that any claim or claim limitation is governed but 35 U.S.C. 112 ¶ 6, identify

27 the factual and legal basis for that belief and the corresponding structure, material, or acts

28 described in the specification and equivalents thereof and further including an identification of all

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 1 documents and things supporting such contention or belief, and an identification of the persons

 2 most knowledgeable of the facts supporting such contention or belief.

 3

 4 OBJECTIONS AND RESPONSE TO INTERROGATORY NO. 5:

 5          In addition to its General Objections above, which it hereby incorporates by reference,

 6 Samsung objects to this Interrogatory to the extent that: (i) it prematurely seeks disclosure of

 7 Samsung’s non-infringement contentions, in violation of the Federal Rules of Civil Procedure, this

 8 Court’s Local Rules, the Court’s February 8, 2012 Order Setting Initial Case Management

 9 Conference and ADR Deadlines, the Court’s February 22, 2012 Order Setting Briefing and

10 Hearing Schedule for Preliminary Injunction Motion; (ii) it seeks to elicit information subject to

11 and protected by the attorney-client privilege, the attorney work-product doctrine, the joint defense

12 privilege, the common interest doctrine, and/or any other applicable privilege or immunity; (iii) it

13 is overbroad and unduly burdensome to the extent it purports to require Samsung to create

14 information or documents that do not already exist; (iv) it is vague and ambiguous and calls for

15 speculation, particularly as to the term “equivalents thereof”; and (v) it is compound and

16 comprises discrete subparts resulting in separate interrogatories.

17

18 INTERROGATORY NO. 6:
19          If you contend or believe that any asserted claim of the Preliminary Injunction Patents is

20 invalid and/or unenforceable, state with specificity the complete factual and legal bases for such

21 contention or belief, including an identification of all alleged prior art, a claim chart showing

22 where each limitation of each claim can be found in the alleged prior art, the claim constructions

23 or definitions used in supporting this contention or belief, and if you believe that any claim or

24 claim limitation is governed but 35 U.S.C. 112 ¶ 6, identify the factual and legal basis for that

25 belief and the corresponding structure, material, or acts described in the specification and

26 equivalents thereof and an identification of all documents and things (including, but not limited to,

27 alleged prior art) supporting such contention or belief, an identification of the specific provision of

28

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 1 Title 35 upon which such contention or belief is based, and an identification of the persons most

 2 knowledgeable of the facts supporting such contention or belief.

 3

 4 OBJECTIONS AND RESPONSE TO INTERROGATORY NO. 6:

 5          In addition to its General Objections above, which it hereby incorporates by reference,

 6 Samsung objects to this Interrogatory to the extent that: (i) it prematurely seeks disclosure of

 7 Samsung’s invalidity and unenforceability contentions, in violation of the Federal Rules of Civil

 8 Procedure, this Court’s Local Rules, the Court’s February 8, 2012 Order Setting Initial Case

 9 Management Conference and ADR Deadlines, the Court’s February 22, 2012 Order Setting

10 Briefing and Hearing Schedule for Preliminary Injunction Motion; (ii) it seeks to elicit information

11 subject to and protected by the attorney-client privilege, the attorney work-product doctrine, the

12 joint defense privilege, the common interest doctrine, and/or any other applicable privilege or

13 immunity; (iii) it is overbroad and unduly burdensome to the extent it purports to require Samsung

14 to create information or documents that do not already exist; (iv) it is vague and ambiguous and

15 calls for speculation, particularly as to the term “equivalents thereof”; and (v) it is compound and

16 comprises discrete subparts resulting in separate interrogatories.

17

18 INTERROGATORY NO. 7:
19          If you contend or believe that Apple has not been or will not be irreparably harmed by the

20 sale of the Samsung Galaxy Nexus, state with specificity the complete factual and legal bases for

21 such contention or belief, including but not limited to all factual and legal bases covering any

22 contention or belief that the smartphone market is not undergoing a transformation whereby

23 consumers are purchasing their first smartphone, that customers are not loyal to the platform or

24 operating system of their first smartphone, and that Samsung is not marketing its smartphones to

25 first time smartphone buyers or customers and identify all documents and things relating to your

26 response, and any persons with knowledge regarding your response.

27

28

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 1 OBJECTIONS AND RESPONSE TO INTERROGATORY NO. 7:

 2          In addition to its General Objections above, which it hereby incorporates by reference,

 3 Samsung objects to this Interrogatory to the extent that: (i) it prematurely seeks disclosure of

 4 Samsung’s contentions regarding alleged irreparable harm, in violation of the Federal Rules of

 5 Civil Procedure, this Court’s Local Rules, the Court’s February 8, 2012 Order Setting Initial Case

 6 Management Conference and ADR Deadlines, the Court’s February 22, 2012 Order Setting

 7 Briefing and Hearing Schedule for Preliminary Injunction Motion; (ii) it seeks to elicit information

 8 subject to and protected by the attorney-client privilege, the attorney work-product doctrine, the

 9 joint defense privilege, the common interest doctrine, and/or any other applicable privilege or

10 immunity; (iii) it is vague and ambiguous, particularly as to the terms “smartphone market,”

11 “transformation,” and “loyal”; and (iv) it is compound and comprises discrete subparts resulting in

12 separate interrogatories.

13

14 INTERROGATORY NO. 8:

15          Identify and describe in detail any analysis, review, consideration, or copying of, or

16 comparison against any Apple product or product feature in designing or developing, or

17 implementing a feature during the design and/or development of any Samsung smartphone or

18 tablet computer and identify all documents and things relating to your response, and any persons
19 with knowledge regarding your response.

20

21 OBJECTIONS AND RESPONSE TO INTERROGATORY NO. 8:

22          In addition to its General Objections above, which it hereby incorporates by reference,

23 Samsung objects to this Interrogatory on the ground that: (i) it seeks to elicit information subject

24 to and protected by the attorney-client privilege, the attorney work-product doctrine, the joint

25 defense privilege, the common interest doctrine, and/or any other applicable privilege or

26 immunity; (ii) it is overly broad and unduly burdensome in that it seeks information not relevant to

27 Apple’s Motion for a Preliminary Injunction; (iii) it seeks information that is not relevant and not

28 reasonably calculated to lead to the discovery of admissible evidence; (iv) it is vague and

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 1 ambiguous; and (v) it is compound and comprises discrete subparts resulting in separate

 2 interrogatories.

 3

 4 INTERROGATORY NO. 9:

 5          For each of the accused features, including Slide to Unlock, Text Correction, Unified

 6 Search and Special Text Detection, identify and describe in detail any analysis, whether internal or

 7 external, including, but not limited to, any consumer study, consumer demand analysis, survey, or

 8 report, or other analysis or discussion, and identify all documents and things relating to your

 9 response, and any persons with knowledge regarding your response.

10

11 OBJECTIONS AND RESPONSE TO INTERROGATORY NO. 9:

12          In addition to its General Objections above, which it hereby incorporates by reference,

13 Samsung objects to this Interrogatory on the ground that: (i) it seeks to elicit information subject

14 to and protected by the attorney-client privilege, the attorney work-product doctrine, the joint

15 defense privilege, the common interest doctrine, and/or any other applicable privilege or

16 immunity; (ii) it is overly broad and unduly burdensome in that it seeks information not relevant to

17 Apple’s Motion for a Preliminary Injunction; (iii) it is vague and ambiguous, especially with

18 regard to the terms “analysis,” consumer study,” “consumer demand analysis,” “survey,” “report,”
19 and “other analysis or discussion”; (iv) it is vague, ambiguous, and unintelligible to the extent it

20 seeks information about any “accused features” that are not specifically identified in the

21 interrogatory; and (v) it is compound and comprises discrete subparts resulting in separate

22 interrogatories.

23          Subject to and without waiving the foregoing general and specific objections, Samsung

24 responds as follows:

25          The features identified in this interrogatory – Slide to Unlock, Text Correction, Unified

26 Search and Special Text Detection – were developed by Google, not Samsung. Samsung is

27 presently unaware of any consumer studies, analyses, or reports regarding these features.

28 Samsung's investigation is ongoing and, to the extent that Samsung's investigation subsequently

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 1 reveals the existence of any such consumer studies, analyses, or reports regarding these features,

 2 then Samsung will supplement this response accordingly as well as produce responsive non-

 3 privileged documents regarding any such consumer studies, analyses, or reports regarding these

 4 features.

 5

 6 INTERROGATORY NO. 10:

 7          For each of the following, identify all discussions, internally or with third parties,

 8 regarding, or consideration of, the design, and implementation of, any of the accused features,

 9 including (i) Slide to Unlock, (ii) Text Correction, (iii) Unified Search, and (iv) Special Text

10 Detection as implemented in any Samsung product, including but not limited to Samsung

11 smartphones and tablet computers, and identify the three persons most knowledgeable about such

12 discussions, designs, and implementation.

13

14 OBJECTIONS AND RESPONSE TO INTERROGATORY NO. 10:

15          In addition to its General Objections above, which it hereby incorporates by reference,

16 Samsung objects to this Interrogatory on the ground that: (i) it seeks to elicit information subject

17 to and protected by the attorney-client privilege, the attorney work-product doctrine, the joint

18 defense privilege, the common interest doctrine, and/or any other applicable privilege or
19 immunity; (ii) it is overly broad and unduly burdensome in that it seeks information not relevant to

20 Apple’s Motion for a Preliminary Injunction; (iii) it is overly broad, unduly burdensome, and

21 neither relevant nor reasonably calculated to lead to the discovery of admissible evidence to the

22 extent that it seeks “all discussions . . . or consideration of” “any of the accused features”; (iv) it

23 seeks confidential proprietary or trade secret information of a third party (Google); (v) it is vague

24 and ambiguous, especially with regard to the term “consideration of”; (vi) it is vague, ambiguous,

25 and unintelligible to the extent it seeks information about any “accused features” that are not

26 specifically identified in the interrogatory; and (vii) it is compound and comprises discrete

27 subparts resulting in separate interrogatories.

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                                              -14-                      Case No. 12-cv-00630-LHK
               SAMSUNG’S OBJECTIONS AND RESPONSES TO APPLE’S FIRST SET OF PI INTERROGATORIES
     Case 5:12-cv-00630-LHK Document 135-10 Filed 04/24/12 Page 16 of 18




 1         Subject to and without waiving the foregoing general and specific objections, Samsung

 2 responds as follows:

 3         Samsung is presently unaware of any non-privileged discussions, internally or externally,

 4 regarding design or implementation of the four accused features – Slide to Unlock, Text

 5 Correction, Unified Search and Special Text Detection – of Galaxy Nexus. Samsung's

 6 investigation is ongoing and, to the extent that Samsung's investigation subsequently reveals the

 7 existence of any such discussions, then Samsung will supplement this response accordingly as

 8 well as produce responsive non-privileged documents regarding such discussions.

 9

10 DATED: March 27, 2012                     Respectfully submitted,

11                                           QUINN EMANUEL URQUHART &
                                             SULLIVAN, LLP
12

13

14                                              By /s/ Patrick M. Shields
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15                                                Kevin P.B. Johnson
                                                  Victoria F. Maroulis
16
                                                  William C. Price
17                                                Patrick M. Shields
                                                  Attorneys for SAMSUNG ELECTRONICS CO.,
18                                                LTD., SAMSUNG ELECTRONICS AMERICA,
                                                  INC. and SAMSUNG
19                                                TELECOMMUNICATIONS AMERICA, LLC
20

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                                            -15-                      Case No. 12-cv-00630-LHK
             SAMSUNG’S OBJECTIONS AND RESPONSES TO APPLE’S FIRST SET OF PI INTERROGATORIES
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17

18                             UNITED STATES DISTRICT COURT
19                NORTHERN DISTRICT OF CALIFORNIA, SAN JOSE DIVISION

20

21 APPLE INC., a California corporation,
                                                CASE NO. 12-CV-00630-LHK
22                Plaintiff,
                                                CERTIFICATE OF SERVICE
23         vs.

24 SAMSUNG ELECTRONICS CO., LTD., a
   Korean business entity; SAMSUNG
25 ELECTRONICS AMERICA, INC., a
   New York corporation; SAMSUNG
26 TELECOMMUNICATIONS AMERICA,
   LLC, a Delaware limited liability company,
27
                 Defendants.
28

                                                                   Case No. 12-CV-00630-LHK
                                                                  CERTIFICATE OF SERVICE
     Case 5:12-cv-00630-LHK Document 135-10 Filed 04/24/12 Page 18 of 18




 1                                    CERTIFICATE OF SERVICE
 2         I am employed in the County of Los Angeles, State of California. I am over the age of
   eighteen years and not a party to the within action; my business address is 865 South Figueroa
 3 Street, 10th Floor, Los Angeles, California 90017.

 4          On March 27, 2012, I served or had served true copies of the following documents,
     described as:
 5
        SAMSUNG’S OBJECTIONS AND RESPONSES TO APPLE’S FIRST SET OF
 6 PRELIMINARY INJUNCTION REQUESTS FOR PRODUCTION TO DEFENDANTS

 7        SAMSUNG'S OBJECTIONS AND RESPONSES TO APPLE'S FIRST SET OF
     PRELIMINARY INJUNCTION INTERROGATORIES
 8
            on the interested parties in this action addressed as follows:
 9
         ATTORNEYS FOR APPLE INC.                 ATTORNEYS FOR APPLE INC.
10
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15                                                Telephone: (650) 849-5300
                                                  Facsimile: (650) 849-5333
16

17 BY ELECTRONIC MAIL TRANSMISSION from pamdavis@quinnemanuel.com, by
   transmitting PDF format copies of such documents to each such person identified above, at the e-
18 mail address listed below their address(es). The documents were transmitted by electronic
   transmission and such transmission was reported as complete and without error.
19
           I declare that I am employed in the office of a member of the bar of this Court at whose
20 direction the service was made.

21          Executed on March 27, 2012, at Los Angeles, California.

22

23                                                     /s/ Pamela S. Davis

24

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                                                       -2-                    Case No. 12-CV-00630-LHK
                                                                             CERTIFICATE OF SERVICE
